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     Attorneys for Plaintiff
9
10                                    UNITED STATES DISTRICT COURT
11                                  NORTHERN DISTRICT OF CALIFORNIA
12                                         SAN FRANCISCO DIVISION
13   UNITED STATES OF AMERICA,           )                     No.: CR 05-555 CRB
                                         )
14         Plaintiff,                    )                     PARTIES’ STIPULATION AND
                                         )                     PROPOSED ORDER CONTINUING
15                                       )                     THE SENTENCING DATE
                                         )
16   RICARDO MANZO-RANGEL,               )
                                         )
17         Defendant.                    )
     ____________________________________)
18
19   The parties stipulate and agree, and the Court finds and holds, as follows:
20           1. The defendant is currently scheduled to be sentenced on Wednesday, August 23, 2006.
21   However, the government requires one additional week in order to prepare a sentencing
22   recommendation in this matter.
23           2. This request, the last request the government anticipates requiring, is occasioned by
24   government counsel’s schedule and the need to consult with the relevant supervisory personnel in
25   the United States Attorney’s office, some of whom have changed as of August 21, 2006.
26           3. For these reasons, the parties jointly request that sentencing in this matter be continued
27   // //
28   // //

     STIPULATION AND PROPOSED ORDER
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1    one additional week to August 30, 2006.
2
3    SO STIPULATED.
4    DATED: 8/22/06                            Respectfully Submitted,
5
6
                                               _/s/______________________________
7                                              SUSAN R. JERICH
                                               Assistant United States Attorney
8
     DATED:
9
                                               ___________________________________
10                                             MICHAEL STEPANIAN
                                               Counsel for Defendant
11
12   PURSUANT TO STIPULATION, IT IS SO ORDERED.
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     DATED: August 22, 2006                    __________________________________




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                                               HON. CHARLES R. BREYER
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                                               Judge, United States District Court
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     STIPULATION AND PROPOSED ORDER
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